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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CONAIR CORPORATION,                               )
                                                  )
                        Plaintiff,                )    Case No. 16-cv-09693
                                                  )
       v.                                         )
                                                  )
THE PARTNERSHIPS and                              )
UNINCORPORATED ASSOCIATIONS                       )
IDENTIFIED ON SCHEDULE “A,”                       )
                                                  )
                        Defendants.               )
                                                  )

                                         COMPLAINT

       Plaintiff Conair Corporation, (“Conair” or “Plaintiff”) hereby brings the present action

against the Partnerships and Unincorporated Associations identified on Schedule A attached

hereto (collectively, “Defendants”) and alleges as follows:

                              I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive commercial Internet stores operating under the Defendant Domain
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Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products bearing counterfeit

versions of Conair’s trademarks.      Each of the Defendants has targeted sales from Illinois

residents by operating online stores that offer shipping to the United States, including Illinois,

accept payment in U.S. dollars and, on information and belief, has sold products using

counterfeit versions of Conair’s federally registered trademarks to residents of Illinois. Each of

the Defendants is committing tortious acts in Illinois, is engaging in interstate commerce, and has

wrongfully caused Conair substantial injury in the State of Illinois.

                                     II. INTRODUCTION

       3.      This action has been filed by Conair to combat online counterfeiters who trade

upon Conair’s reputation and goodwill by selling and/or offering for sale unauthorized and

unlicensed counterfeit products using counterfeit versions of Conair’s federally registered

trademarks (the “Counterfeit Conair Products”). The Defendants create the Defendant Internet

Stores by the hundreds and design them to appear to be selling genuine Conair products, while

actually selling Counterfeit Conair Products to unknowing consumers. The Defendant Internet

Stores share unique identifiers, such as design elements and similarities of the Counterfeit Conair

Products offered for sale, establishing a logical relationship between them and suggesting that

Defendants’ counterfeiting operation arises out of the same transaction, occurrence, or series of

transactions or occurrences. Defendants attempt to avoid liability by going to great lengths to

conceal both their identities and the full scope and interworking of their counterfeiting operation.

Conair is forced to file these actions to combat Defendants’ counterfeiting of its registered


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trademarks, as well as to protect unknowing consumers from purchasing Counterfeit Conair

Products over the Internet. Conair has been and continues to be irreparably damaged through

consumer confusion, dilution, and tarnishment of its valuable trademarks as a result of

Defendants’ actions and seeks injunctive and monetary relief.

                                      III. THE PARTIES

Plaintiff

       4.      Conair is an internationally recognized leader in the development, manufacturing,

and marketing of personal and professional health and beauty products and small household

appliances. Conair markets and sells hair dryers, flat irons, curling irons, hot rollers, and other

heat styling tools, including, but not limited to, the popular BaBylissPRO, MIRACURL,

INFINITI PRO BY CONAIR, CURL SECRET and PERFECT CURL products (collectively

referred to as the “Conair Products”). Conair distributes its Conair Products through various

channels, including through the official conair-store.com website, through authorized distributors

for the professional-grade Conair Products, and through various retailers throughout Illinois and

the United States, including, but not limited to, professional beauty supply stores such as Ulta,

department stores such as Macy’s, and large retail corporations such as Target and Wal-Mart for

the consumer-grade Conair Products.

       5.      Conair Products have become enormously popular, driven by Conair’s arduous

quality standards and innovative designs.      Among the purchasing public, genuine Conair

Products are instantly recognizable as such. In the United States and around the world, Conair’s

brands have come to symbolize high quality.

       6.      Conair incorporates a variety of distinctive marks in the design of its various

Conair Products. As a result of its long-standing use, Conair owns common law trademark rights


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in its BaBylissPRO, MIRACURL, CONAIR, INFINITI PRO BY CONAIR, CURL SECRET,

PERFECT CURL and other trademarks. Conair has also registered its trademarks with the

United States Patent and Trademark Office. Conair Products typically include at least one of

Conair’s registered trademarks. Often several of Conair’s marks are displayed on a single

product. Conair uses its trademarks in connection with the marketing of its Conair Products,

including the following federally registered marks, which are collectively referred to as the

“CONAIR Trademarks.”

 REGISTRATION            REGISTERED              REGISTRATION          INTERNATIONAL
   NUMBER                TRADEMARK                   DATE                   CLASSES
   994,007                CONAIR                 September 24,    For: Electric hair dryers,
                                                     1974         electric curling irons in
                                                                  class 011.

   1,032,163                                      February 3,     For: Electric hair dryers,
                                                     1976         electric hot combs, electric
                                                                  curling irons, and electric
                                                                  pressing combs in class
                                                                  011.

                                                                  For: Hair brushes in class
                                                                  021.

   1,148,225                                     March 10, 1981   For: Electric hair styling
                                                                  apparatus-namely, electric
                                                                  hair straightener, electric
                                                                  styling irons, electric
                                                                  brushes and electric
                                                                  styling combs in class 009.

   2,248,614               CONAIR                 June 1, 1999    For: Electrical and/or
                                                                  battery-operated shavers,
                                                                  clippers and trimmers, and
                                                                  non-electrical hand
                                                                  operated shears in class
                                                                  008.

                                                                  For: Electrical curling
                                                                  brushes, electrical hair
                                                                  curling irons, electrical

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                                                          heated hair rollers and hair
                                                          setters in class 009.

                                                          For: Electrical and/or
                                                          battery-operated massagers
                                                          and electrical heating pads
                                                          in class 010.

                                                          For: Electrical lighted
                                                          make-up mirrors in class
                                                          020.

                                                          For: Hair brushes, hair
                                                          combs, hair rollers, hair
                                                          styling implements,
                                                          namely, and electrical and
                                                          non-electrical toothbrushes
                                                          in class 021.

3,176,276      BABYLISS PRO TT          November 28,      For: Hair appliances,
                                           2006           namely hair dryers in class
                                                          011.

3,331,036      BABYLISS PRO TT          September 12,     For: Hair appliances,
                                            2006          namely, electric hair
                                                          curling irons and electric
                                                          hair straighteners in class
                                                          009.

3,513,454          BABYLISS             October 7, 2008 For: Hand-held electric
                                                        hair dryers in class 011.

3,513,456          BABYLISS             October 7, 2008 For: Hair brushes; hair
                                                        combs in class 021.

3,825,111        BABYLISS PRO            July 27, 2010    For: Electric hand-held
                   XCLUSIVE                               hair styling irons in class
                                                          009.

                                                          For: Hand-held electric
                                                          hair dryers in class 011.

4,042,126          BABYLISS               October 18,     For: Electric hair curlers in
                                             2011         class 009.



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4,246,825     BABYLISS FOR MEN          November 20,      For: Hair clippers; hair
                                           2012           trimmers; mustache and
                                                          beard trimmers in class
                                                          008.

4,272,256       INFINITI PRO BY         January 8, 2013   For: Electric irons for
                    CONAIR                                styling hair in class 008.

                                                          For: Electric hair dryers in
                                                          class 011.

                                                          For: Electrically heated
                                                          hair brushes in class 021.

4,365,347         MIRACURL               July 9, 2013     For: Electric hair curling
                                                          irons in class 008.

                                                          For: Electric hair curlers in
                                                          class 026.

4,400,184       INFINITI PRO BY         September 10,     For: Electric hair curlers,
                    CONAIR                  2013          other than hand
                                                          implements; Electric hair
                                                          rollers in class 026.

4,399,723       INFINITI PRO BY         September 10,     For: Hair brushes in class
                    CONAIR                  2013          021.

4,464,104        CURL SECRET            January 7, 2014   For: Electric irons for
                                                          styling hair in class 008.

4,561,367        BABYLISSPRO             July 1, 2014     For: Electric hair
                                                          trimmers; hair clippers;
                                                          electric hair curling irons;
                                                          electric hair straightening
                                                          irons; electric hand-held
                                                          hair styling irons in class
                                                          008.

                                                          For: Electric hair dryers in
                                                          class 011.

                                                          For: Hair brushes in class
                                                          021.



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    4,649,356                                       December 2,      For: Electronic hand-held
                                                       2014          hair styling irons in class
                                                                     008.




    4,693,394         HAIR GOES IN CURL             February 24,     For: Electric hair curling
                         COMES OUT                     2015          irons in class 008.


       7.       The above U.S. registrations for the CONAIR Trademarks are valid, subsisting, in

full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The registrations

for the CONAIR Trademarks constitute prima facie evidence of their validity and of Conair’s

exclusive right to use the CONAIR Trademarks pursuant to 15 U.S.C. § 1057(b). The CONAIR

Trademarks have been used exclusively and continuously by Conair and its predecessors in

interest, some since at least as early as 1963, and have never been abandoned. Conair has

devoted substantial resources to promoting the goodwill of the CONAIR Trademarks. As a

result, the CONAIR Trademarks have become famous and serve to symbolize Conair and its

reputation as an industry leader among stylists and hair care enthusiasts. True and correct copies

of the United States Registration Certificates for the above-listed CONAIR Trademarks are

attached hereto as Exhibit 1.

       8.       The CONAIR Trademarks are exclusive to Conair, and are displayed extensively

on Conair Products and in Conair’s marketing and promotional materials. Conair has expended

substantial time, money, and other resources in developing, advertising, and otherwise promoting

and protecting the CONAIR Trademarks.            As a result, products bearing the CONAIR

Trademarks are widely recognized and exclusively associated by consumers, the public, and the

trade as being high-quality products sourced from Conair. Conair Products are among the most

popular of their kind in the world. Because of Conair’s advertising and promotional efforts and

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its continuous use of the CONAIR Trademarks for many years, Conair has attained one of the

highest levels of recognition among professional health and beauty brands in the United States,

and the CONAIR Trademarks have become famous marks.

       9.     The CONAIR Trademarks are distinctive when applied to the Conair Products,

signifying to the purchaser that the products come from Conair and are manufactured to Conair’s

quality standards. Whether Conair manufactures the products itself or licenses others to do so,

Conair has ensured that products bearing its trademarks are manufactured to the highest quality

standards. The CONAIR Trademarks have achieved tremendous fame and recognition which

has only added to the distinctiveness of the marks. As such, the goodwill associated with the

CONAIR Trademarks is of incalculable and inestimable value to Conair.

       10.    Conair’s innovative marketing and product designs have enabled Conair to

achieve widespread recognition and fame and have made the CONAIR Trademarks some of the

most well-known marks in the professional beauty industry. The widespread fame, outstanding

reputation, and significant goodwill associated with the CONAIR Trademarks have made the

marks valuable assets of Conair.

       11.    Conair has used the CONAIR Trademarks on and in connection with the

advertising and sale of a wide variety of hair styling tools, including, but not limited to, the

Conair Products. Conair has sold and advertised its goods in interstate and intrastate commerce,

including commerce in the State of Illinois, and in this judicial district. As a result of their

widespread use, these trademarks have become a symbol of high-quality, professional styling

tools and are synonymous with Conair. The CONAIR Trademarks are inherently distinctive or

have acquired secondary meaning and, as such, have come to be known as source identifiers for

authentic Conair Products.


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        The Defendants

        12.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive, commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and on information and belief, has sold and

continues to sell Counterfeit Conair Products to consumers within the United States, including

the State of Illinois.

        13.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products bearing counterfeit versions of the CONAIR Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Conair to learn Defendants’ true identities and the exact interworking of their

massive counterfeit network.       In the event that Defendants provide additional credible

information regarding their identities, Conair will take appropriate steps to amend the Complaint.

                           IV.   DEFENDANTS’ UNLAWFUL CONDUCT

        14.     The success of Conair’s brands has resulted in their significant counterfeiting.

Consequently, Conair has a worldwide anti-counterfeiting program and regularly investigates

suspicious websites and online marketplace listings identified in proactive Internet sweeps and

reported by consumers. In recent years, Conair has identified hundreds of domain names linked

to fully interactive websites and marketplace listings on platforms such as iOffer, eBay,


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AliExpress, and Alibaba, including the Defendant Internet Stores, which were offering for sale

and selling Counterfeit Conair Products to consumers in this Judicial District and throughout the

United States. Despite Conair’s enforcement efforts online and on the ground, Defendants have

persisted in creating the Defendant Internet Stores. Internet websites like the Defendant Internet

Stores are estimated to receive tens of millions of visits per year and to generate over $135

billion in annual online sales. According to an intellectual property rights seizures statistics

report issued by Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods

seized by the U.S. government in fiscal year 2014 was over $1.23 billion. Internet websites like

the Defendant Internet Stores are also estimated to contribute to tens of thousands of lost jobs for

legitimate businesses and broader economic damages such as lost tax revenue every year.

       15.     Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers.

Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via

credit cards, Western Union and PayPal. Numerous Defendant Domain Names also incorporate

the CONAIR Trademarks into the URL, and the Defendant Internet Stores often include content

and design elements that make it very difficult for consumers to distinguish such counterfeit sites

from an authorized website. Many Defendants further perpetuate the illusion of legitimacy by

offering customer service and using indicia of authenticity and security that consumers have

come to associate with authorized retailers, including the Visa®, MasterCard®, and/or PayPal®

logos. Conair has not licensed or authorized Defendants to use any of the CONAIR Trademarks,

and none of the Defendants are authorized retailers of genuine Conair Products.

       16.     Many Defendants also deceive unknowing consumers by using the CONAIR

Trademarks without authorization within the content, text, and/or meta tags of their websites in


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order to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for Conair Products. Additionally, upon information and belief, Defendants

use other unauthorized search engine optimization (SEO) tactics and social media spamming so

that the Defendant Internet Stores listings show up at or near the top of relevant search results

and misdirect consumers searching for genuine Conair Products. Other Defendants only show

the CONAIR Trademarks in product images, while using strategic item titles and descriptions

that will trigger their listings when consumers are searching for CONAIR Products.

       17.    Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant

Internet Stores. For example, many of Defendants’ names and physical addresses used to

register the Defendant Domain Names are incomplete, contain randomly typed letters, or fail to

include cities or states. Other Defendant Domain Names use privacy services that conceal the

owners’ identity and contact information. On information and belief, Defendants regularly

create new websites and online marketplace accounts on various platforms using the identities

listed in Schedule A to the Complaint, as well as other unknown fictitious names and addresses.

Such Defendant Internet Store registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their massive

counterfeiting operation, and to avoid being shut down.

       18.    Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.         For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. In addition, Counterfeit Conair Products for sale in the

Defendant Internet Stores bear similar irregularities and indicia of being counterfeit to one


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another, suggesting that the Counterfeit Conair Products were manufactured by and come from a

common source and that Defendants are interrelated. The Defendant Internet Stores also include

other notable common features, including use of the same domain name registration patterns,

shopping cart platforms, accepted payment methods, check-out methods, meta data, illegitimate

SEO tactics, HTML user-defined variables, domain redirection, lack of contact information,

identically or similarly priced items and volume sales discounts, the same incorrect grammar and

misspellings, similar hosting services, similar name servers, and the use of the same text and

images, including content copied from Conair’s official conair.com, curlsecret.com,

miracurlpro.com and babylissus.com websites.

       19.    In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products

in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated

that the Internet has fueled “explosive growth” in the number of small packages of counterfeit

goods shipped through the mail and express carriers.

       20.    Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Conair’s enforcement efforts.       On information and belief,


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Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of

PayPal transaction logs from previous similar cases indicates that off-shore counterfeiters

regularly move funds from U.S.-based PayPal accounts to China-based bank accounts outside the

jurisdiction of this Court.

          21.   Defendants, without any authorization or license from Conair, have knowingly

and willfully used and continue to use the CONAIR Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Conair Products into the

United States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the

United States, including Illinois, and, on information and belief, each Defendant has sold

Counterfeit Conair Products into the United States, including Illinois.

          22.   Defendants’ use of the CONAIR Trademarks in connection with the advertising,

distribution, offering for sale, and sale of Counterfeit Conair Products, including the sale of

Counterfeit Conair Products into the United States, including Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Conair.

                                  COUNT I
           TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

          23.   Conair hereby re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 22.

          24.   This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered CONAIR

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The CONAIR Trademarks are highly distinctive marks. Consumers have

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come to expect the highest quality from Conair Products offered, sold or marketed under the

CONAIR Trademarks.

       25.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products bearing

counterfeit reproductions of the CONAIR Trademarks without Conair’s permission.

       26.     Conair is the exclusive owner of the CONAIR Trademarks. Conair’s United

States Registrations for the CONAIR Trademarks (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of Conair’s rights in the CONAIR

Trademarks, and are willfully infringing and intentionally using counterfeits of the CONAIR

Trademarks. Defendants’ willful, intentional and unauthorized use of the CONAIR Trademarks

is likely to cause and is causing confusion, mistake, and deception as to the origin and quality of

the Counterfeit Conair Products among the general public.

       27.     Defendants’    activities   constitute   willful   trademark    infringement    and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       28.     Conair has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Conair will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known CONAIR Trademarks.

       29.     The injuries and damages sustained by Conair have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell,

and sale of Counterfeit Conair Products.

                                      COUNT II
                     FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       30.     Conair hereby re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 29.

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         31.   Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Conair Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Conair or the

origin, sponsorship, or approval of Defendants’ Counterfeit Conair Products by Conair.

         32.   By using the CONAIR Trademarks on the Counterfeit Conair Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Conair Products.

         33.   Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Conair Products to the general public involves the

use of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. §

1125.

         34.   Conair has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Conair will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.

                             COUNT III
    CLAIM FOR INJUNCTIVE RELIEF UNDER THE ANTICYBERSQUATTING
  CONSUMER PROTECTION ACT (15 U.S.C. § 1125(d)) AS TO THE DEFENDANTS
  OPERATING A DEFENDANT DOMAIN NAME INCORPORATING ANY OF THE
                       CONAIR TRADEMARKS

         35.   Conair hereby re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 34.

         36.   Conair is the exclusive owner of the CONAIR Trademarks.                  The U.S.

Registrations for the CONAIR Trademarks (Exhibit 1) are in full force and effect. Additionally,

the CONAIR Trademarks are highly distinctive and famous marks pursuant to 15 U.S.C. § 1125

and were famous before and at the time of the registration of the Defendant Domain Names.


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       37.     Upon information and belief, Defendants operating a Defendant Domain Name

incorporating any of the CONAIR Trademarks have acted with bad faith intent to profit from the

unauthorized use of the CONAIR Trademarks and the goodwill associated therewith by

registering, trafficking in, or using various domain names which are identical to, confusingly

similar to, or dilutive of the CONAIR Trademarks.

       38.     Defendants have no intellectual property rights in or to the CONAIR Trademarks.

       39.     Defendants’ actions constitute willful cybersquatting in violation of §43(d) of the

Lanham Act, 15 U.S.C. §1125(d).

       40.     Conair has no adequate remedy at law, and the registration and use of the

Defendant Domain Names incorporating any of the CONAIR Trademarks has caused, is causing,

and is likely to continue to cause substantial and irreparable injury to the public and to Conair.

                                COUNT IV
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       41.     Conair hereby re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 through 40.

       42.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Conair Products as those of Conair; causing a likelihood of

confusion and/or misunderstanding as to the source of their goods; causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

Conair Products; representing that their Counterfeit Conair Products have Conair’s approval

when they do not; and engaging in other conduct which creates a likelihood of confusion or

misunderstanding among the public.




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       43.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       44.      Conair has no adequate remedy at law, and Defendants’ conduct has caused

Conair to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Conair

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                     PRAYER FOR RELIEF

WHEREFORE, Conair prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under, or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the CONAIR Trademarks or any reproductions, counterfeit copies, or colorable

             imitations thereof in any manner in connection with the distribution, marketing,

             advertising, offering for sale, or sale of any product that is not a genuine Conair

             Product or is not authorized by Conair to be sold in connection with the CONAIR

             Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Conair Product or any other product produced by Conair that is not Conair’s or not

             produced under the authorization, control, or supervision of Conair and approved by

             Conair for sale under the CONAIR Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

             Counterfeit Conair Products are those sold under the authorization, control, or

             supervision of Conair, or are sponsored by, approved by, or otherwise connected with

             Conair;


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       d. further infringing the CONAIR Trademarks and damaging Conair’s goodwill;

       e. otherwise competing unfairly with Conair in any manner; and

       f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for Conair, nor authorized by Conair to

          be sold or offered for sale, and which bear any of Conair’s trademarks, including the

          CONAIR Trademarks, or any reproductions, counterfeit copies, or colorable

          imitations thereof;

2) Entry of an Order that, at Conair’s choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Conair, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and

   change the registrar of record for the Defendant Domain Names to a registrar of Conair’s

   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating    Company,        LLC    (“GoDaddy”),       Name.com,      PDR      LTD.     d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap, Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Conair’s

   selection; or that the same domain name registries shall disable the Defendant Domain

   Names and make them inactive and untransferable;

3) Entry of an Order that, upon Conair’s request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms

   such as iOffer, eBay, AliExpress, and Alibaba, web hosts, sponsored search engine or ad-

   word providers, credit cards, banks, merchant account providers, third party processors and


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   other payment processing service providers, Internet search engines such as Google, Bing

   and Yahoo, and domain name registrars, including, but not limited to, GoDaddy, Name.com,

   PDR, and Namecheap, (collectively, the “Third Party Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

           future, to engage in the sale of goods using the CONAIR Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit and infringing goods using the

           CONAIR Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified

           on Schedule A from displaying in search results, including, but not limited to,

           removing links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Conair all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of the CONAIR Trademarks be increased by a sum not exceeding three times

   the amount thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Conair be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   CONAIR Trademarks and $100,000 per domain name incorporating any of the CONAIR

   Trademarks pursuant to 15 U.S.C. § 1117(d);

6) That Conair be awarded its reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.




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Dated this 13th day of October 2016.   Respectfully submitted,


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